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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTR]CT OF GEORGIA
                                     ATLANTA DIVISION

In re:                                                         Case   No. 18-55697-LRC
         CASSANDRA JOHNSON LANDRY

                       Debtor(s)



         CHAPTER 13 STANDING TRUSTEES FINAL REPORT AND ACCOUNT

        Melissa J. Davey, chapter 13 trustee, submits the following Final Report and Account            of
the administration of the estate pursuant to 11 U.S.C. $ 1302(bX1). The trustee declares as
follows:

         1)    The case was filed on 04/03i2018.

         2)    The plan was confirmed    on NA    .




         3)    The plan was modified by order after confirmation pursuant to 11 U.S C. $ 1329 on
NA

         4)    The trustee filed action to remedy default by the debtor in performance under the plan
on NA.

         5)    The case was converted on 09/13/2018.

         6)    Number of months from filing to last payment: 4.

         7)    Number of months case was pending: 6.

         8)    Total value ofassets abandoned by court order:      NA.

         9)    Total value ofassets exempted: $2.600.00.

         l0) Amount of unsecured claims discharged without payment: $0.00.

         I   l) Atl checks distributed by the trustee relating to this   case have not cleared the bank'




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Receints:

           Total paid by or on behalf of the debtor                       $5,120.00
           Less amount reftlnded to debtor                                $4,756.50

NET RECEIPTS:                                                                                                   $363.50



Exnenses of Administrationl

           Attomey's Fees Paid Through the Plan                                        $0.00
           Courl Costs                                                                 $0.00
    Trustee Expenses & Compensation                                                  $363.50
    Other                                                                              $0.00
TOTAL EXPENSES OF ADMINISTRATION                                                                                $363.50

Attomey f'ees paid and disclosed by debtor:                                $0.00



                  re
Crcditor                                             Claim           Claim             Claim         Pdncipal        Int.
Name                                   Class        Scheduled       Assened           Allowed          Paid          Paid
AMC MOR:IGAGE SERVICES, INC.       Secured           204.?05.00                NA               NA            0.00      0.00

AMERICAN EXPRESS DELTA SKY     I   Unsecured          r3,000.00                                 NA            0.00      0.00

AMERICAN EXPRESS NATIONAL      E   Unsecured           13,312.03      r   3,312.03      13.312.03             0.00      0.00

AMES IUNDING                       Unsecured                 0.00              NA               NA            0.00      0.00

AMES }'UNDING                      Unsccured                 0.00              NA               NA            0.00      0.00
ARCENT MORTGAGE COMPANY            Unsecured                 0.00              NA               NA            0.00      0.00

ASSOCIATION FOR HABERSHAM          Unsecured                 0.00              NA               NA            0,00      0.00

BANK OF AMER]CA                    S€cured            7t,400.00                NA               NA            0.00      000
BANK OF.\MERICA, N,A,              Unsecured                 NA      22,656.0t         22,656.0t              0.00      0.00
AUR[AUS INVESTMENT CiROUP    PI    Llnsecured          13,312.00      13,'t 19.40       13,71s.40             0.00      0.00
BIJREAUS INVESTMENT CROUP    PI    Unsecurcd           I1.439.00      t1.439.52         11,439.52             0.00      0.00

CACH L,I,C                         Unsecured          31,182.00       33,646.86         33,646.86             0.00      0.00
Carrington Mortgage                Unsecurcd                 0.00              NA               NA            0.00      0.00

CHASE MANI I.\TTAN                 Secured           461,600.00                NA               NA            0.00      0.00

Chase Mortga8e                     Secured           458,546.00                NA               NA            0.00      0.00
Chase Mortga8e                                               0.00              NA               NA            0.00      0.00
CI'I IITINANCIAL MORTGAGE          Secured           204,250.00                NA               NA            0.00      0.00
CIT]MORTGAGE                       Secured           204,250.00                NA               NA            0.00      0.00
DEKA],8 COI]NTY TAX COMMISSI       Priority             7,508.05               NA               NA            0.00      0.00

DELONG, CAI,DWELL, BRIDGES,        Priority           30,000.00                NA               NA            0.00          0.00

DIUTSCHE BANK NAT]ONAI, 1'RTJ      Secured             71.400.00      57,348.03         57.348.03             0.00          0.00

I)OROt.rCH & DOUGII                Unsecured            6,000.00               NA               NA            0.00          0.00

EMORY E]ASTSIDE MEDICAL CENI       Unsecured                 NA             150.00         r50.00             0.00          0.00
FIRS-TFRANKLIN                     Unsecured                 0.00              NA               NA            0.00          0.00
FIRST FRANKLIN                     Unsecured                 0.00              NA               NA            0.00          0.00
FIRST FRANKLIN                     IJnsecured                0.00              NA               NA            0.00          0.00




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Scheduled Creditors:
Creditor                                           Claim             Claim           Claim           Principal        Int.
Name                                  Class       Scheduled         Asserted        Allowcd            Paid           Paid
FIRST FRANKLIN                   Unsecured                   0.00              NA             NA             0.00          0.00
FIRST FRANKLIN                   Unseculed                   0.00              NA             NA             0.00          0.00
FIRST FRANKI,IN                  Secu.ed           463,383.89                  NA             NA             0.00          0.00
CA DEPT OT COMMI]N]TY ] IEALTI   lJnsecured             21,862.00              NA             NA             0.00          0.00
CREAI' AMERICA f INANCIAL SER\   Unsecured              77,000.00              NA             NA             0.00          000
II AND R BLOCK                   LJnsecured                  0.00              NA             NA             0.00          0.00
H   AND R BLOCK                  Unsccured                   0.00              NA             NA             0.00          000
H AND R BLOCK                    Unsecured                   0.00              NA             NA             0.00          0.00
H AND R BLOCK                    Unsecured                   0,00            NA               NA             0.00          0.00
H AND R BLOCK                    Unsecured                   0.00              NA             NA             0.00          0.00
IIOM[BANC MORTCAGE               Unrecured                   0.00              NA             NA             0.00          0.00
HOMF,L:}ANC MORTGAGE             Unsecured                   0.00              NA             NA             0.00          0.00
HOMEWARD RESIDENTIAL INC         Secured                71,400.00              NA             NA             0.00          0.00
HOMEWARD RESIDENTIAL INC         Secured                69,800.00              NA             NA             0.00          0.00
HURON LAW GROUP                  Unsecored               5,000.00              NA             NA             0.00          0.00
INTERNAL REVENUE SERVICE         PrioriR                13,187.00      5,000.00        5,000.00              0.00          0.00
JP Morgan Chase Bank, N.A.       Secured           488,234.00                0.00           0.00             0.00          0.0t)
JPMORGAN CHASE BANK NA           Sccur'rd          488,234.00         73,258.93       7t 258 9l              000           0.00
                                                                       q ooo gq                              0.00          0.00
MIDLAND FUNDINC LLC              Uflsecured              9,000.00                      9,000.s9
NATCHEZ, TRACE HOA, tNC.         Secured                   428.94      2,049.87        2,049.8',7            0.00          0.00
NAIIONSTAR                       Secured                63,472.00              NA             NA             0.00          0.00
NEIMAN MARCUS                    Unsccured              13,000.00              NA             NA             0.00          0.00
OCWEN LOAN SVOOPTION ONE         Unsecured                   0.00              NA             NA             0.00          0.00
OCWF:N t,OAN/NATIONSTAR          Secured                                       NA             NA             0.00          0.00

QUN NTUM3 GROUP LLC              Unsecured                    NA         182.60           182.60             0.00          0.00
READYCAP t,ENDINC                Secured           455,814.73                  NA             NA             0.00          0.00
READYC,\P LENDINC                Secured           435,000.00                  NA             NA             0.00          0.00
REGENCY MORl'CACE                Unsecured                   0.00              NA             NA             0.00          0.00
REGIONS MORTGAGE                 Securod            i29,t 00.00                NA             NA             0.00          0.00
RIVERDAI,E FL]NDINO              Secured                88.000.00              NA             NA             0.00          0.00
RIVERDALE FUNDING                Secured           227,000.00                  NA             NA             0.00          0.00
RIVERDALFJ }UNDING               [.Jnsecured                 0.00                             NA             0.00          0.00
ADVANTAGE COLLECTION             Unsecured                 100.00              NA             NA             0.00          0.00
SELECT PORTFOLIO SERVICES        Unsecured                   0.00              NA             NA             0.00          0.00
SOt,IND TEL!COM                  Unsecured               1,046,42              NA             NA             0.00          0.00
SO(] IHWEST CHASE                Llnsecured              1,045.42              NA             NA             0.00          0.00
     E DOWNS HOMEOWNERS ASSC     Seoured                   464.63      2,911.35                              0.00          0.00
I'II'I,LJMAX OF GEORCIA          Secured                 4,6t2.17              NA             NA             0.00          0.00
VALERI BURNOUGH                  Unsccured              30,000.00     30,060.95       30.060.95              0.00          0.00
VERIPRO SOLUl'IONS               secured                65,000.00              NA             NA             0.00          0.00
VERIPRO SOLUTIONS, INC           Sccured                     0.00      9,882.00        9,882.00              0.00          0.00
WELLS FARCO                      Secured            t   57.113.00              NA             NA             0.00          0.00
WILMINCTON S,NINGS FLJND SO(     Securcd            r63,075.00        41,t51.26       4',7,157.26            0.00          0.00
WILMINCTON TRUST COMPANY         Seculed            114.633.00        26,580.81       26,580.81              0.00          0.00
WILSHIRT CREDI'I' CORP           Secured                71,400.00              NA             NA             0.00            0.00
WOODBRIDGE MORTGAGE INVER        Unsecured         227,000.00        223,693.54               0.00           0.00            0.00




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Summary of Disbursements to Creditors:
                                                                Claim           Principal             Interest
                                                             Allowed                Paid                 Paid
Secured Payments:
      Mortgage Ongoing                                          $0.00                  $0.00            $0.00
      Mortgage Anearage                                  $167,069.77                   s0.00            $0.00
      Debt Secured by Vehicle                                   $0.00                  $0.00            $o.oo
      All Other Secured                                   $s2,1 18.48                  $0.00            $0.00
TOTAL SECURED                                            $219,188.25                   $0.00            $0.00

Priority Unsecured Payments:
         Domestic Support Arrearage                             $0.00                  $0.00            $0.00
         Domestic Suppon Ongoing                                s0.00                  $0.00            $0,00
         All Other Priority                                 $5,000.00                  $0.00            $0.00
TOTAL PRIORITY                                              $5,000.00                  $0.00            $0.00

GENERALUNSECUREDPAYMENTS                                 $134,168.36                   $0.00            $0.00



I)isbursements:

         Expenses of Administration                                 $363.50
         Disbursements 1o Creditors                                   $0.00

  OTAL DISBURSEMENTS:                                                                              $363.50



         l2)The trustee certilies that the foregoing summary is true and complete and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests that the trustee be discharged and granted such reliefas may bejust and proper'

Dated: 09/18/2018                                By:/s/ Melissa J. Davey
                                                                            l'rustee


STATEMENT This Unified Form is associated with      an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. $ 1320.4(a)(2) applies,




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                           LINITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


IN RE:                                           )    CHAPTER     13
CASSANDRA JOHNSON LANDRY                         )
                                                 )    CASE NO. 18.55697-LRC
                                                 )
DEBTOR                                           )

                                 CERTIFICATE OF SERVICE

This is to Cefiiry that I have this day served

   CASSANDRA JOHNSON LANDRY
   869 NATCHEZ VALLEY TRACE
   GRAYSON, GA 30017


   PRO SE




with a copy of the foregoing Chapter 13 Trustee's Final Report and Account by depositing in the
United States Mail a copy of same in a properly addressed envelope with adequate postage
thereon.

DATEI)     09/18/2018                                                    /s/
                                                     Melissa J. Davey, Chapter 13 Trustee
                                                     State Bar No. 206310
                                                     Standing Chapter 13 Trustee
                                                     260 PEACHTREE STREET N.W.
                                                     SUITE 2OO
                                                     Atlanta, GA 30303
                                                     (678)510-1444
                                                     trustee@ 1 3trusteeatlanta.com




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